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 6 United States of America

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:12-CR-0318 LJO-SKO
12                                Plaintiff,             STIPULATION REGARDING
                                                         EXCLUDABLE TIME PERIODS
13                 v.                                    UNDER SPEEDY TRIAL ACT;
                                                         FINDINGS AND ORDER
14   BALTAZAR RODRIGUEZ, et al.
15                                Defendants.
16
                                                STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendants, by
18
     and through their counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for the filing of the government’s response to

21 pretrial motions on or before Friday, May 17, 2013, and a hearing on the motions on June 3, 2013, at

22 8:30 a.m.

23
            2.      By this stipulation, the parties agree to continue the filing of the government’s
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     response to May 30, 2013, to hear the motions on June 3, 2013 at 8:30 a.m.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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27          a.      Counsel for the government desires additional time to respond to the defendants’

28 motions, in light of deadlines related to the filing of the government’s appeal brief in United Sates v.
                                                        1
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     Xi Andy Lieng following his jury trial and conviction in this Court, as well as the need of the defense
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     to conduct further investigation and inspect the evidence, which is located in Kernville, California .
 2

 3            b.    Counsel for the parties believe that failure to grant the above-requested continuance

 4 would deny them the reasonable time necessary for effective preparation, taking into account the

 5 exercise of due diligence.

 6
              c.    Based on the above-stated findings, the ends of justice served by continuing the case
 7
     as requested outweigh the interest of the public and the defendants in a trial within the original date
 8
     prescribed by the Speedy Trial Act.
 9

10            e.    For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

11 seq., within which trial must commence, the time period of June 3, 2013, inclusive, is deemed

12 excludable pursuant to 18 U.S.C.§§ 3161(h)(7)(A) and B(iv), because it results from a continuance

13 granted by the Court at the parties’ request on the basis of the Court's finding that the ends of justice

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     served by taking such action outweigh the best interest of the public and the defendant in a speedy
15
     trial.
16
              4.    Nothing in this stipulation and order shall preclude a finding that other provisions of
17

18 the Speedy Trial Act dictate that additional time periods are excludable from the period

19 within which a trial must commence.
20 IT IS SO STIPULATED.

21
     DATED:         May 8, 2013.           Respectfully submitted,
22
                                           BENJAMIN B. WAGNER
23                                         United States Attorney
24
                                           /s/ Karen A. Escobar___________________
25                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
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27 DATED:           May 8, 2013.
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                                 /s/ Ann McGlenon_____________
 1                               ANN McGLENON
                                 Counsel for Defendant Baltazar Rodriguez
 2 DATED:       May 8, 2013.
 3                               /s/ Peter Jones _____________
                                 PETER JONES
 4                               Counsel for Defendant Juan Carlos Perez-Gonzales
     DATED:     May 8, 2013.
 5
                                 /s/ Carol Moses_____________
 6                               CAROL MOSES
                                 Counsel for Defendant Hector Quintero-Mercado
 7 DATED:       May 8, 2013.
 8                               /s/ John Garland _____________
                                 JOHN GARLAND
 9                               Counsel for Jose Guadalupe Rodriguez
10

11                                     ORDER
12

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16 IT IS SO ORDERED.

17
       Dated:   May 9, 2013                                         /s/ Lawrence J. O’Neill
18                                          DEAC_Signature-END:
                                                                  UNITED STATES DISTRICT JUDGE

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